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             EXHIBIT 3
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                                                                1                                                               2

 1   IN THE UNITED STATES DISTRICT COURT FOR                            1                  Virtual Deposition of EUNICE
 2   THE DISTRICT OF MARYLAND                                           2   ANDERSON, taken on Friday, February 19, 2021, at
 3   -------------------------------------x                             3   2:18 p.m. EST.
 4   ANN MARIE HARVEY,                    :                             4
 5          -v-   Plaintiff,             : Case No.: 20-cv-00874-RDB    5
 6   ENOCH PRATT FREE LIBRARY, ET AL.,       :                          6
 7                  Defendants.           :                             7
 8   -------------------------------------x                             8
 9                                                                      9                  Pursuant to Notice of Oral
10                      Virtual Deposition of                          10   Deposition Duces Tecum, before Fazier Walle, a
11                         EUNICE ANDERSON                             11   Shorthand Court Stenographer and Notary Public in
12                    Friday, February 19, 2021                        12   and for the State of Maryland.
13                          2:18 p.m. EST                              13
14                                                                     14
15                                                                     15
16                                                                     16
17                                                                     17
18                                                                     18
19                                                                     19
20                                                                     20
21   Job No.: 021921Anderson                                           21
22   Reported by: Fazier Walle                                         22




                                                                3                                                               4

 1                      APPEARANCES                                     1                     CONTENTS
 2        ON BEHALF OF THE PLAINTIFF:                                   2   EXAMINATION OF EUNICE ANDERSON               PAGE
 3             GEORGE A. ROSE, ESQUIRE                                  3        By Mr. Rose                                5
 4             ROSE LAW FIRM, L.L.C.                                    4        By Ms. Simpson Parker                    123
 5             200 E. Lexington Street                                  5
 6             Suite 1305                                               6                     EXHIBITS
 7             Baltimore, Maryland 21202                                7                (*Attached to transcript)
 8             (410)727-7555                                            8   ANDERSON   DEPOSITION EXHIBIT                PAGE
 9                                                                      9   Ex. 1      E-mail dated 11/2/17                46
10        ON BEHALF OF THE DEFENDANTS:                                 10   Ex. 2      Three-page document including
11             CHERYL SIMPSON PARKER, ESQUIRE                          11              e-mail dated 10/11/28 and memo      67
12             GARY GILKEY, ESQUIRE                                    12
13             BALTIMORE CITY LAW DEPARTMENT                           13
14             100 N. Holiday Street                                   14
15             Baltimore, Maryland 21202                               15
16             (410)361-9139                                           16
17                                                                     17
18        ALSO PRESENT:                                                18
19             ANN MARIE HARVEY                                        19
20             ROBIN MORAN                                             20
21                                                                     21
22                                                                     22
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                                                        5                                                         6

 1                 PROCEEDINGS                               1        A    No.
 2   Whereupon,                                              2        Q    And could you state your age,
 3                    EUNICE ANDERSON,                       3   Mrs. Anderson?
 4   being first duly sworn or affirmed to testify to        4        A    Sixty-five.
 5   the truth, the whole truth, and nothing but the         5        Q    And what is your marital status
 6   truth, was examined and testified as follows:           6   currently, Mrs. Anderson?
 7             MR. ROSE: Thank you, Madame Court             7        A    Separated.
 8   Reporter.                                               8        Q    Mrs. Anderson, did you do anything to
 9             EXAMINATION BY COUNSEL FOR PLAINTIFF          9   prepare for your deposition today?
10   BY MR. ROSE:                                           10        A    Today? You mean prior to today? Or
11        Q    Good afternoon again, Ms. Anderson.          11   just today?
12        A    Good afternoon.                              12        Q    Yes.
13        Q    Are you Mrs. Anderson or Ms. Anderson?       13        A    No -- I mean yes, I spoke with counsel,
14        A    Mrs.                                         14   Cheryl --
15        Q    Mrs. Anderson.                               15             THE WITNESS: I can't remember your last
16             Could you just state your name, ma'am,       16   name, Cheryl. Sorry.
17   and spell it for the record, please.                   17             MS. SIMPSON PARKER: Simpson Parker.
18        A    Eunice Anderson. Eunice, E-U-N-I-C-E,        18             THE WITNESS: Simpson Parker, that's
19   Anderson, A-N-D-E-R-S-O-N.                             19   right.
20        Q    Very well.                                   20        A    -- Simpson Parker.
21             Are you known by any other names? Have       21   BY MR. ROSE:
22   you ever been known by any other names?                22        Q    Yes.




                                                        7                                                         8

 1             Have you ever taken a deposition before,      1        A    Yes, I do.
 2   Mrs. Anderson?                                          2        Q    And you just swore to tell the truth and
 3        A    Yes, I have.                                  3   nothing but the truth in this deposition; is that
 4        Q    So you are -- are you familiar with the       4   correct?
 5   rules and procedures of a deposition?                   5        A    That's correct, I affirmed.
 6        A    You might want to review them with me,        6        Q    Yes, you affirmed and swore to tell the
 7   it was a couple of years ago.                           7   truth, right?
 8        Q    Okay.                                         8        A    I prefer to use affirm, but, yes,
 9             How many depositions would you say you        9   uh-huh.
10   have taken in your lifetime?                           10        Q    Okay, understood.
11        A    One.                                         11             And you understand that your testimony
12        Q    One, okay.                                   12   here in this process will have the same force and
13             Now, do you understand that this             13   effect as though you were in a court of law giving
14   deposition is a court procedure or a legal process     14   testimony under oath before a judge or a jury, you
15   that is being kind of conducted informally through     15   understand that, do you?
16   this Zoom process as it is right now, do you           16        A    Yes, I do.
17   understand that?                                       17        Q    During this deposition, the court
18        A    Yes.                                         18   reporter will be taking down your testimony, the
19        Q    And obviously you were just placed under     19   questions that I ask and the responses that you
20   oath and you know what the implication of being        20   give, and that testimony will be transcribed into
21   placed under oath in a legal proceeding is, do you     21   a booklet that reads like a script.
22   know that?                                             22             Do you understand that?
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                                                      9                                                          10

 1       A     Yes.                                         1   clear that if I ask a question that you're not
 2       Q     Okay.                                        2   clear about, please ask me to clarify or to
 3             And do you understand that you will be       3   rephrase the question. But if you answer a
 4   asked to sign that transcript attesting to the         4   question that I ask without clarification, I will
 5   accuracy of that, of your deposition today?            5   take it that you understand the question.
 6        A    Yes.                                         6             Is that fair?
 7        Q    And you understand that in this process      7        A    Yes.
 8   the court reporter is unable to record gestures or     8        Q    Okay.
 9   inaudible sounds and, therefore, you must              9             Now, are you under the influence of any
10   articulate your responses clearly and without         10   drugs or substance or medication that could affect
11   gestures; do you understand that?                     11   your ability to give truthful testimony today or
12        A    Yes, mm-hmm.                                12   to understand the questions as I ask them?
13        Q    I would also request that you, you know,    13        A    No.
14   wait until I complete my questions before you give    14        Q    Okay.
15   a response. That way the court reporter will have     15             Is there any other reason that could
16   a clean record of what was said and what the          16   prevent you from testifying truthfully here today?
17   responses were.                                       17        A    No reason.
18             Do you understand that?                     18        Q    Now, Mrs. Anderson, are you currently
19        A    Yes.                                        19   employed?
20        Q    Now, as you indicated, you intend to        20        A    No.
21   testify truthfully under oath. I'm hoping and         21        Q    Who was your last employer?
22   expecting that from you today and I want to be        22        A    Enoch Pratt Free Library.




                                                      11                                                         12

 1        Q    Okay, and when did your employment end       1   Neighborhood Library Services Division?
 2   with Enoch Pratt Free Library?                         2        A    Acting Chief from the -- I think that
 3        A    December 1, 2018.                            3   was October of 2015 and assuming the position mid
 4        Q    And how did your employment end on           4   March of 2016.
 5   December 1, 2018?                                      5        Q    Okay --
 6        A    Retirement.                                  6        A    No, no. I take that back.
 7        Q    Was it voluntary retirement?                 7        Q    Go ahead.
 8        A    Yes.                                         8        A    Actually I assumed -- scratch that.
 9        Q    And at the time when you retired what        9             Assumed the Acting position in 2013 and
10   was your position or your title at Enoch Pratt        10   received the position in March of 2014, so
11   Free Library?                                         11   everything back a year.
12        A    Chief, Neighborhood Library Services        12             Been so long.
13   Division.                                             13        Q    Understood.
14        Q    Okay, and as the Chief of Neighborhood      14             And during that period of time was
15   Library Services Division, who was your supervisor    15   Ms. Heidi Daniel still your supervisor?
16   at the time of your retirement?                       16             Did you hear the question?
17        A    Heidi Daniel.                               17        A    No. What did you say?
18             She --                                      18        Q    I'm asking during that period of time
19        Q    How --                                      19   between 2013 and 2014, you were Acting in 2013,
20        A    Go ahead.                                   20   you assumed the position as Chief in 2014; is that
21        Q    Okay.                                       21   correct?
22             How long had you been the Chief of          22        A    That's correct, yes.
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                                                         13                                                         14

 1        Q    And who was your supervisor at that             1        A    Well, it was divisional work as I saw it
 2   time?                                                     2   in that it was my responsibility, and not me
 3        A    Carla Hayden, Dr. Carla Hayden.                 3   directly necessarily, but through managers and the
 4        Q    Can you describe, at the time of your           4   upper level supervisors in my division to make
 5   retirement in December of 2018, what were the             5   sure buildings, yes, were staffed in order to open
 6   essential functions of your position as Chief of          6   and/or to function on a daily basis.
 7   Library Services Division?                                7             So that's not -- in my opinion, that is
 8        A    My responsibility was to oversee the            8   not a human resources function. It was a
 9   entire division which included, but not limited           9   divisional responsibility.
10   to, staffing, payroll, ensuring that branches            10             Payroll, again the same thing, ensuring
11   opened and were fully functioning for days' work.        11   that staff were reviewing, I didn't have direct
12             Let's see.                                     12   responsibility, it was delegated to my -- those
13             Attending meetings, attending meetings,        13   who were under me, but to make sure payroll was
14   division meetings, as well as administrative team        14   done on a biweekly basis and accurately done.
15   meetings, contributing to either written or              15        Q    Was there a separate HR department
16   verbal, contributing to conversation or the              16   within the entire library system?
17   direction of the library, ensuring that the              17        A    Yes, there is.
18   division's directives were carried out on a daily        18        Q    And there was at the time when you
19   basis and also long-range plans.                         19   retired as well, or did your tenure as the Chief
20        Q    When you say "staffing and payroll," is        20   of Neighborhood Library Services Division, was
21   that functions of a human resource department or         21   there an HR department at Enoch Pratt Library?
22   is that HR functions?                                    22        A    Oh, yes, mm-hmm.




                                                         15                                                         16

 1       Q     Okay.                                           1   correct?
 2             And did you interact or interface with          2        A    Yes.
 3   that department in terms of your role as the Chief        3        Q    Okay.
 4   of Neighborhood Library Services Division?                4             So in terms of your role as the Chief of
 5        A    Quite often for the hiring of staff,            5   NLSD, these functions, staffing, hiring, firing,
 6   yes, uh-huh, of personnel, mm-hmm.                        6   promotions, training, performance evaluations,
 7        Q    Is there any other thing that you               7   EAP, raises and so on, were these things initiated
 8   coordinated or interacted with HR apart from              8   by you as the chief and then communicated to HR or
 9   hiring of personnel?                                      9   was it the other way around?
10        A    Hiring, unfortunately but necessarily          10        A    They were communicated by me to human
11   firing, promotions, raises, if necessary,                11   resources. And most cases, in most cases.
12   performance evaluations, transfers, and any other        12        Q    Okay.
13   kind of human resources; EAP, if staff members           13             Now, were there any other divisions in
14   needed it, any kind of welfare training, the             14   Enoch Pratt Free Library apart from Neighborhood
15   training, staff training, any kind of welfare and        15   Library Services that you're aware of?
16   personnel issues, yes, I interacted with human           16        A    Yes, quite a few.
17   resources.                                               17        Q    Okay.
18        Q    Okay.                                          18             Can you list some of them for me, all
19             And in terms of interaction, these areas       19   the ones you can recall?
20   that -- you know, these roles or responsibilities        20        A    Okay, great.
21   that you performed as Director of NLSD, meaning          21             Facilities division, State Library
22   Neighborhood Library Services Division, am I             22   Resource Center, the administrative services, I
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                                                      41                                                            42

 1   know ...                                               1   Assistant Chief and Chief, were there any
 2        Q    Okay.                                        2   managers, library managers, or library supervisor
 3             And if there was any library managers,       3   1, that you know of that was transferred from
 4   or LS1s, that were transferred on the basis of         4   their library or their branch because of failing
 5   complaints or allegations from staff or customers      5   their performance evaluations?
 6   during your period as Assistant Chief, Acting          6        A    No, but we didn't -- as far as I know,
 7   Chief and Chief, you would have known today; is        7   no. It was always our desire to maintain a --
 8   that correct?                                          8   work with the manager so they could perform at
 9        A    Yes, I would have.                           9   their best. That is always because we don't want
10        Q    Now, were there any -- during your          10   to disrupt services. So when there were
11   tenure as Acting Chief, Chief, and also -- there's    11   complaints about managers, we would work with them
12   Acting Chief, there was Associate Chief; am I         12   to help them be a better manager.
13   correct?                                              13             That I can recall, there were none that
14        A    Assistant Chief, yeah. Acting Chief,        14   were removed because of performance issues, but if
15   Assistant Chief.                                      15   there were problems we worked with the manager
16        Q    Sorry about that, Mrs. Anderson.            16   because there had been in some cases, and yeah, we
17        A    That's okay.                                17   worked with the manager to improve them rather
18             I've had many -- I was with Pratt for 40    18   than, you know, depending on what the complaints
19   years, over 40 years so I had many positions.         19   were. It may not have been the best thing to move
20        Q    Congratulations.                            20   them, but you work with them so they can improve.
21        A    Yes, thank you.                             21        Q    Okay.
22        Q    So during your tenure as Acting Chief,      22             Let me ask you more specifically --




                                                      43                                                            44

 1   well, let me move on.                                  1       Q     Yes.
 2             MR. ROSE: Strike that, Madame Court          2       A     No.
 3   Reporter, I'll get back to that.                       3             But there were allegations of some of
 4        Q    During the period of time when you were      4   those complaints, some of those things you just
 5   the Assistant Manager or the Assistant Chief, the      5   said, but yeah, from managers.
 6   Acting Chief and the Chief for NLSD, were there        6             You have staff that are going to be
 7   any branch managers, or LS1s, that were removed        7   disgruntled with the manager, but as I said, we
 8   from their branch, to your knowledge, because of       8   always strive to work with the manager for their
 9   allegations that they were being a bully?              9   improvement if there were issues. Because we're
10        A    No, I don't think so.                       10   talking about people here. We're not talking
11        Q    Were there any managers, or LS1s, that      11   about perfect people, we're just talking about
12   were removed during your tenure as Assistant          12   people who are imperfect, so those things
13   Chief, Acting Chief and Chief of NLSD because of      13   happened. So we dealt with them on the level of
14   allegations that they were condescending towards      14   their location.
15   other employees?                                      15        Q    So it's your testimony that during your
16        A    No.                                         16   tenure as Acting Chief, Assistant Chief and Chief
17        Q    Or that they were condescending towards     17   of NLSD where there were allegations against
18   customers?                                            18   branch managers, or LS1s, that involved
19        A    No.                                         19   allegations from staff or customers, you would
20             You said were they as a result of having    20   work with them to improve those situations for
21   those allegations they were transferred, right,       21   those managers?
22   that's what you're --                                 22        A    Yes.
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 1        Q    Okay.                                           1   discrimination; is that correct?
 2        A    Yes.                                            2        A    Let me say, I don't know if she
 3        Q    Now, Mrs. Anderson, you're aware that           3   communicated with my staff, but she did
 4   you're giving testimony in this matter because of         4   communicate with me, I do, yes, she did.
 5   a lawsuit that was brought by Ms. Harvey, Ms. Ann         5        Q    Okay.
 6   Marie Harvey, who is an employee of Enoch Pratt           6             Now, as Chief of Neighborhood Library
 7   Free Library, are you aware of that?                      7   Services division, what was your responsibility in
 8        A    Yes.                                            8   terms of addressing a branch manager's complaints,
 9        Q    Okay.                                           9   report or allegation of employment discrimination
10             And is it correct that while you were          10   as Ms. Harvey had done in 2016?
11   the Chief of Neighborhood Library Services back in       11             MS. SIMPSON PARKER: Objection; in terms
12   2016, you're aware that Ms. Harvey filed or              12   of the relevancy, time frame.
13   brought an EEOC charge of discrimination based on        13             You can answer.
14   gender against Enoch Pratt Free Library, you're          14             THE WITNESS: Oh, sure.
15   aware of that; is that correct?                          15        A    Let's see, I had not had a complaint
16        A    Quite aware, yes.                              16   before prior to that, so there's no precedent to
17        Q    Okay.                                          17   base an answer on, but I do recall saying to her
18             And is it correct that before Ms. Harvey       18   she had to do what she thought was best for her.
19   actually filed that EEOC charge with the Equal           19             MR. ROSE: All right, Madame Court
20   Employment Opportunity Commission that she               20   Reporter --
21   actually communicated to you and your staff about        21             (A discussion was held off the record.)
22   her concerns regarding her allegations of gender         22             (Exhibit 1 was marked for identification




                                                         47                                                         48

 1   and is attached to the transcript.)                       1   I'll scroll through and you can just let me know,
 2   BY MR. ROSE:                                              2   you take a look at it, let me know when you're
 3        Q    I'm going to put a document on the              3   ready to take some questions on it. Okay?
 4   screen for you to take a look at, Mrs. Anderson.          4        A    Uh-huh.
 5             Bear with me a second.                          5             (Counseling scrolling through the
 6        A    Sure.                                           6   document.)
 7        Q    Mrs. Anderson, I have a document that I         7             THE WITNESS: Don't go so fast.
 8   have on the screen, are you able to see it?               8             (A discussion was held off the record.)
 9        A    Yes.                                            9   BY MR. ROSE:
10        Q    Very well.                                     10        Q    Let me know when you're ready for me to
11             Do you recognize this document?                11   scroll further.
12        A    Well, I see my name on it.                     12        A    Okay, I will.
13        Q    I'll scroll through it.                        13        Q    And there is a further page on it, for
14             MS. SIMPSON PARKER: Excuse me, can we          14   full disclosure (indicating).
15   identify the document for purposes of making this        15        A    Okay, I've read it.
16   record as to a Bates stamp number or an exhibit          16             MS. SIMPSON PARKER: Mr. Rose, excuse
17   number, please.                                          17   me, in terms of this document, I don't know who
18             MR. ROSE: Absolutely.                          18   the person identified it to, but it looks -- I'm
19   BY MR. ROSE:                                             19   not so sure it was in terms of the time frame a
20        Q    This document, I'll scroll through it          20   year later, and there's an indication to grievance
21   much slower for you, Mrs. Anderson, in a minute,         21   committee. So I'm not sure if Mrs. Anderson has
22   but the document is Bates stamped PLTN009. And           22   any relevancy to that particular document, that
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 1   actual e-mail in terms of who it's to, I don't --      1   Bbox@prattlibrary.org and to a -- what is that --
 2             MR. ROSE: Understood. Thank you.             2   Kwabena Sarfo, do you know that name?
 3   BY MR. ROSE:                                           3        A    Yes.
 4        Q    Mrs. Anderson, you recognize this, the       4        Q    And do you know the e-mail address
 5   first page of this document, that is your e-mail       5   Bbox@prattlibrary.org?
 6   address and it says to branch manager, you saw         6        A    Yes, uh-huh.
 7   that?                                                  7        Q    What is that e-mail address used for?
 8        A    Yes.                                         8        A    Well, Becky, or Rebecca Box and Kwabena
 9        Q    And it's dated November 2, 2017 and the      9   Sarfo were part of the grievance committee.
10   time 11:57 a.m. Do you see that?                      10        Q    And that grievance committee, was the
11        A    Yes.                                        11   grievance committee part of the structure of NLSD?
12        Q    And do you recognize this part of the       12        A    No, it was -- it was the entire library
13   document?                                             13   system. They were the grievance committee for the
14        A    Yes.                                        14   entire library system.
15        Q    And to your recollection, was this an       15        Q    Okay.
16   e-mail that you sent to branch manager as it's        16        A    A staff committee, yeah, yeah, a staff
17   stated here?                                          17   committee for the entire library.
18        A    Yes.                                        18        Q    And just to be clear on the record, you
19        Q    And for further clarification as counsel    19   didn't generate this e-mail, the one that, you
20   is indicating, there is another section of the        20   know, is apparently from Ann Marie Harvey to these
21   document below your e-mail that appears to be an      21   addresses, you didn't generate this; is that
22   e-mail from Ann Marie Harvey to a                     22   correct?




                                                      51                                                         52

 1       A     That is correct.                             1   Marie Harvey who kind of outburst a comment or
 2       Q     Okay.                                        2   question, I should say, to the new CEO regarding
 3             Well, let me redirect your attention to      3   staffing in the branch and the tone of the
 4   the e-mail that you testified to that you              4   question and the ensuing comments were rather
 5   generated that you sent. Okay?                         5   inflammatory or quite heated, I should say.
 6        A    Okay.                                        6        Q    Okay.
 7        Q    In the second paragraph -- well, it was      7        A    And I say that only not that the emotion
 8   addressed to branch manager, do you see that?          8   was wrong, but it was at the -- the timing and to
 9        A    Yes.                                         9   who it was, to who it was addressed, who it was
10        Q    Was this addressed then to -- this          10   directed toward.
11   e-mail address goes to all branch managers that       11             I'm not questioning the emotion, but it
12   were part of NLSD?                                    12   was to who it was directed to and the timing of
13        A    Yes.                                        13   it.
14        Q    And it was your intention at that time      14        Q    Okay.
15   to address this e-mail to all branch managers that    15             Now, when you reference in the first
16   were branch managers in the division of NLSD?         16   paragraph that since more than a week has passed
17        A    Yes.                                        17   and emotions have subsided, and making a statement
18        Q    And can you describe, if you recall         18   with minor reaction to the branch managers'
19   today, what was the behavior, the exhibited           19   meeting last week, do you see that?
20   behavior that was hostile that you're addressing      20        A    Yes.
21   in this e-mail?                                       21        Q    Whose emotions were you referencing?
22        A    Specifically it was the behavior of Ann     22   Did this include your emotion as well?
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 1        A    After that outburst and the subsequent       1             Are you saying that after Ms. Harvey
 2   outburst, yes, how I felt, yes, because I state        2   spoke up or, as you describe it here, that other
 3   later on that I was embarrassed and I was -- what      3   managers also spoke up at that meeting, is that
 4   did I say, what did I say -- I was surprised and       4   what you're testifying here today?
 5   embarrassed, yes, so I had an emotional response       5        A    Spoke up, had questions, yes, uh-huh.
 6   as well.                                               6        Q    Okay.
 7        Q    And is it your testimony here today that     7             And the behavior that they exhibited,
 8   even though you sent this to all branch managers       8   were you also describing their behaviors as well
 9   and you testified that you intended it for all         9   as being hostile and mistrust and unprofessional?
10   branch managers, the behavior that you're             10        A    Maybe not the hostility, but definitely
11   identifying was only specific to Ms. Ann Marie        11   mistrust, and somewhat unprofessional, yes.
12   Harvey, is that your testimony today?                 12        Q    For other managers; is that correct?
13        A    Well, her comment, her question, kind of    13        A    Some of them, yes. Not everybody. Not
14   sent a ripple, had a ripple effect among managers,    14   everybody.
15   so it wasn't just the isolation of her comment.       15        Q    Okay, but here, is it your testimony
16   Her comment caused an outburst in some other          16   that Ms. Harvey was the only one that you're
17   managers and they just cosigned what she sort         17   describing as having a hostile behavior in terms
18   of -- sort of cosigned. They weren't as vocal or      18   of when she spoke up at that meeting?
19   as -- or as in my using the term hostile, but it      19        A    Yes.
20   certainly was, it caused some unrest among            20        Q    Okay.
21   managers, yes.                                        21             Now, did Ms. Harvey shout when she made
22        Q    Okay.                                       22   her comment, did she make a shout?




                                                      55                                                            56

 1        A    Well, if you're saying did she raise her     1             And would you say that the issue of tone
 2   voice, there was an -- yes, her voice was              2   in someone's voice is something that is subjective
 3   accelerated, yes, it was, but it wasn't very,          3   to the extent that you can interpret tone one way
 4   very -- it wasn't a shout like you were calling        4   for the same conversation and someone else can
 5   out to somebody, but it was an elevated tone, yes,     5   interpret tone the other way, would you say that?
 6   it was.                                                6        A    I agree.
 7        Q    And did she use any words in her             7        Q    Okay.
 8   question or comments or remark that you would          8             And would you also agree that, as you
 9   describe as being hostile in specific words that       9   testified, you yourself were emotional based on
10   she used?                                             10   what you were observing and, therefore, your
11        A    It was more tone, and yeah, she did say,    11   emotion could have determined or help to shape the
12   how do you -- she asked the question to a             12   way you perceived her tone?
13   brand-new CEO, "how do you expect me to" in a tone    13        A    No, not in a vacuum. Not exclusively,
14   and using those words, which I thought were rather    14   because other people were feeling similar emotion
15   hostile to somebody you didn't know, to use that      15   to mine, so it wasn't just me in isolation, but it
16   tone and those words, yes, there was hostility.       16   was a number of other people feeling the same way.
17        Q    And the hostility is because she asked      17   And they not only felt that way but they expressed
18   the CEO how do you expect me to do something, is      18   it to me afterward.
19   that --                                               19        Q    Okay.
20        A    As I said, not just the words but the       20             And can you list those individuals that
21   tone as well.                                         21   was feeling the same way?
22        Q    Okay.                                       22        A    Oh, this is 2021, this occurred in 2017.
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 1   I have no idea at this point, no.                      1   remark "how do you expect me to do something"; is
 2        Q    Now, apart from -- and you said she was      2   that correct?
 3   speaking to Ms. Heidi Daniel; is that correct?         3        A    That's correct.
 4        A    That's correct.                              4        Q    Is there anything else that she did
 5        Q    Who else was in senior leadership for        5   apart from her tone that reflected or that you can
 6   the library at that meeting, apart from Heidi          6   describe as hostile or mistrust or unprofessional,
 7   Daniel and yourself?                                   7   Ms. Harvey that is?
 8        A    The Assistant Chief and it was all -- it     8        A    I thought that was enough. That was
 9   was the branch managers' meeting, so it was all        9   enough. That was enough.
10   branch managers.                                      10             And I tell you, we cannot ever, in my
11        Q    Okay.                                       11   opinion, rule out all of these -- our senses when
12        A    But the senior people were myself and       12   we are communicating, period. And so that it
13   Heidi.                                                13   might be perceived by me as hostile and
14        Q    Okay.                                       14   mistrusting, I have to use all of my faculties to
15             Was Ms. Robin Moran present at that         15   assess any interaction that I have, so I'm going
16   meeting --                                            16   to not -- I don't think that is not to be regarded
17        A    No.                                         17   as appropriate.
18        Q    -- as well?                                 18             Okay, I just wanted to say that.
19        A    I don't think so. No, I'm sure she          19        Q    No problem.
20   wasn't.                                               20             If you go to the third -- well, let me
21        Q    So you're saying based on her tone you      21   just back up a little bit.
22   thought that she was hostile when she made a          22             MR. ROSE: Please strike that for me,




                                                      59                                                         60

 1   Madame Court Reporter.                                 1             But am I correct, however, though, this
 2        Q    Now, let me direct your attention to, I      2   was not something that -- when you say "post a
 3   think this is the fourth paragraph?                    3   statement," this was not something that occurred
 4        A    Okay.                                        4   at the meeting that we're referencing here?
 5        Q    And the first sentence in that paragraph     5        A    That's right.
 6   it reads: It was disheartening that, after I           6        Q    Now, with respect to the other staff
 7   expressed to you that if you had comments              7   that spoke up after Ms. Harvey spoke up at this
 8   regarding the new hours that you contact me,           8   meeting that you described their behavior
 9   someone chose to post a statement expressing their     9   exhibited was mistrust and unprofessional, did you
10   perception of circumstances that openly was out of    10   take any action pertaining to those particular
11   line.                                                 11   branch managers?
12             Do you see that?                            12        A    This e-mail was the action.
13        A    Yes, I do.                                  13        Q    Okay.
14        Q    When you say "post a statement," what       14             And apart from this e-mail, was there
15   does that mean?                                       15   any other action that you took with respect to any
16        A    Again, you're asking about something        16   of those other branch managers that you just
17   that happened a long time ago, four years almost,     17   testified exhibited mistrust and unprofessional
18   I think there may have been some kind of -- some      18   behavior at that meeting?
19   comment made, I don't know, I don't even remember     19        A    It wasn't necessary.
20   what that was, to be honest with you.                 20        Q    Why wasn't it necessary?
21        Q    Okay, understood. No problem, no            21        A    Because as I stated earlier, it was Ann
22   problem.                                              22   Marie's outburst and questions that precipitated
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 1   those -- the additional comments that followed and     1             As I stated, I was embarrassed and
 2   they were able to bring themselves in line when        2   surprised and so I wanted to find out so I talked
 3   they realized that this was going in a wrong way,      3   to her one-on-one.
 4   so yeah, it wasn't necessary.                          4        Q    Okay.
 5        Q    Okay.                                        5             So you were responding partly as well
 6             Now, apart from this e-mail that you say     6   because you felt embarrassed by this occurrence?
 7   was enough or, you know, action, was there any         7        A    Yes.
 8   other action that was taken with respect to            8        Q    And you say, you know, there was other
 9   Ms. Harvey with respect to your perception that        9   things, it was just not that only comment you
10   she was hostile?                                      10   recall, what other comments that she made that
11        A    It was not just one comment that she        11   caused you embarrassment or caused you to believe
12   made, I might add, it wasn't just that one            12   that she was hostile?
13   question. It was -- there were other comments         13        A    Well, she continued to talk because the
14   after that, but, yes, there were other -- I           14   CEO did answer her, and she continued to ask
15   wrote -- I spoke to her directly after the            15   questions about -- that she had on her mind
16   meeting, I think I even phoned her to find out        16   regarding staffing, legitimate concerns. I'm not
17   what was going on.                                    17   even questioning the legitimacy of her concerns as
18             Ann Marie and I have a long-standing        18   a manager, but it was the presentation of it and
19   friendship or work relationship I should say, work    19   to whom it was presented to, and the CEO was
20   relationship, so I wanted to find out from her,       20   surprised and taken aback, and she felt that it
21   and then what was going on in her mind and what       21   was inappropriate.
22   was going on with her doing that.                     22        Q    Okay.




                                                      63                                                         64

 1             Would you describe Ms. Harvey's comments     1        Q    Okay.
 2   or questions to the CEO, Ms. Heidi Daniel, at that     2        A    Okay, go ahead.
 3   time as being direct and forceful?                     3        Q    And you were aware sometime in November
 4        A    Well, I think I expressed myself they        4   of 2017 that the EEOC had been taking that charge
 5   were hostile. Direct and forceful, yeah, okay,         5   and filed a lawsuit against Enoch Pratt Library on
 6   all of that then, all three adjectives.                6   account of that charge, were you aware of that in
 7        Q    Okay.                                        7   2017?
 8             And if it was a person other than            8        A    When did it file? When did she file the
 9   Ms. Daniel, would you describe Ms. Harvey's            9   charge?
10   comments or questions the same way?                   10        Q    I'm asking the question, ma'am, you can
11        A    Probably so, probably so.                   11   answer if you know or not.
12        Q    All right.                                  12        A    So what was the question again?
13             Let's get to -- well, by the way, at        13        Q    Yes. The question is, were you aware
14   this time when this was occurring, you had            14   that in November of 2017 the charge, the EEOC
15   knowledge of Ms. Harvey's EEOC charge --              15   charge that Ms. Harvey had filed in 2016 had then
16        A    Had nothing to do with.                     16   been taken by the EEOC and filed a lawsuit in
17        Q    You had knowledge that Ms. Harvey's EEOC    17   federal court against Enoch Pratt Library?
18   charge was still pending with EEOC; is that           18        A    Oh yeah, of course. Like I said, it was
19   correct?                                              19   in my head someplace.
20        A    I guess it was someplace in the back of     20        Q    All right. Let's move to --
21   my mind, but it wasn't -- it definitely wasn't in     21             MR. ROSE: Well, before I do that,
22   the forefront of my mind. I think I state --          22   Madame Court Reporter, I'd like to, you know, move
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 1        Q    And it's dated October 25, 2017, do you      1        Q    The question was, did you highlight the
 2   see that?                                              2   date, October 25, 2017, on this document?
 3        A    Mm-hmm.                                      3        A    I don't remember. I don't remember.
 4        Q    Were you the one that made that              4        Q    Did you circle the date as it is stated
 5   highlight on this document?                            5   here on this document?
 6        A    I don't believe I was. Because I was --      6        A    I don't remember. I think I did, but I
 7        Q    Were you --                                  7   don't remember.
 8        A    I wasn't -- I was no longer with Pratt       8        Q    But as to the content and the date of
 9   Library at that -- I can't remember.                   9   the document, to the best of your recollection, is
10        Q    Okay.                                       10   this the date that you actually put on this memo
11             Were you --                                 11   when you drafted it?
12        A    I think I was --                            12        A    Yes.
13        Q    Sorry.                                      13        Q    And as to the people that this memo was
14        A    Go ahead.                                   14   sent to, to the best of your recollection, are
15             I just think I was no longer with Pratt     15   these the individuals that you sent this
16   Library at that time. I think I had already left.     16   memorandum to?
17             No, that was 2017, I'm sorry.               17        A    I believe so.
18        Q    Yes.                                        18        Q    As to the subject matter, it says: RE:
19        A    Yes, that's right.                          19   Documentation of verbal discipline-insubordination
20             Okay, yeah, I left in '18.                  20   to CEO.
21        Q    All right.                                  21             To the best of your recollection, was
22        A    What was your question again?               22   this the subject matter that you put on this memo




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 1   that you drafted or created on October 25, 2017?       1   dated October 11, 2018, as well as the memorandum,
 2        A    Yes.                                         2   dated October 25, I believe, 2017, as to these two
 3        Q    And please take a look at the body of        3   documents that you have testified that you created
 4   the memo and let me know whether or not there's        4   or generated, can you today testify about the
 5   anything in this body of the letter that you did       5   facts relating to them?
 6   not put in here or that is inconsistent with what      6        A    Yes.
 7   you drafted.                                           7        Q    Okay.
 8        A    Okay.                                        8             Well, my first question is, do you know
 9             (Witness reviewing document.)                9   why one year after you had issued this memorandum
10        A    Can you go up a little to "as a             10   you were addressing it in October of 2018 again?
11   result..."                                            11        A    Well, it needed to be -- it was
12             Okay.                                       12   unfinished business. Even though I had had the
13        Q    Now, having looked at the first portion     13   conversations with Ann Marie, it needed to be
14   or the first e-mail on page 1 of this document and    14   documented because there were other behaviors
15   having looked at the second page of this document,    15   after this incident on -- at that branch manager
16   can you testify, to the best of your recollection,    16   meeting that needed to be -- well, yeah, that
17   as to the facts and circumstances surrounding your    17   needed to be -- this needed to be recorded or
18   e-mail and this memorandum today?                     18   documented. And part of the disciplinary process,
19        A    Well, ask that again.                       19   you have to have a verbal, you have to have -- to
20        Q    Yeah.                                       20   go through the steps, and so this step needed to
21             Can you testify as to facts relating to     21   be documented and so I documented it.
22   this e-mail on the first page of the document         22        Q    Okay.
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 1             And so when you indicated "unfinished        1   there was unfinished business.
 2   business," do you mean since 2017, this was still      2             And I further asked you to clarify that
 3   pending?                                               3   and you said it needed to be documented.
 4        A    Well, not pending in -- pending as far       4        A    Right.
 5   as recording it, yes. That -- and that's all it        5        Q    Yes. So my follow-up question is, is it
 6   did, record it, and documented that that incident      6   your testimony that this documentation in 2017 was
 7   had happened and that it had been noted by me,         7   not sufficient?
 8   her -- yeah, it had been noted by the division         8        A    She hadn't gotten it. It hadn't been --
 9   chief, yes.                                            9   well, at the time I thought it should go in her
10        Q    So the memorandum, however, on page 2 of    10   file. It had to be documented.
11   the document is October 25, 2017, is it your          11             Before it was just verbal, there was a
12   testimony that this was not sufficient                12   verbal. But verbal wasn't recorded that there had
13   documentation and it had to be redocumented in        13   been a verbal.
14   2018?                                                 14             So this gives the -- it makes the
15        A    I don't think I understand what you're      15   reality known that there was a verbal conversation
16   saying.                                               16   regarding that incident.
17        Q    Okay.                                       17             Does that make sense? I think that's
18             My initial question was, why were you       18   what I'm trying to say.
19   still dealing with this matter one year after the     19        Q    We will try to clarify. That's all I'm
20   memorandum was issued in October of 2017, then you    20   trying to get to, to understand what you're trying
21   have October of 2018 you're still dealing with        21   to say as well.
22   this matter, and I believe your testimony is that     22        A    Okay.




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 1        Q    So is it your testimony then that this       1        A    The date is on the -- the date is on
 2   memorandum that is dated October 25, 2017 was          2   the -- I'm sorry, the date is on the e-mail.
 3   actually created in 2018 for the documentation of      3        Q    Okay. All right.
 4   an incident that occurred back in October 25,          4             So let me ask you this, Mrs. Anderson,
 5   2017?                                                  5   why didn't you just -- why did you date this
 6        A    Yes, that's correct.                         6   document October 25, 2017 when you were actually
 7        Q    Okay.                                        7   preparing and creating this document in
 8             So in October of 2017, you did not issue     8   October 2018, why did you put this date at the
 9   this actual written document, you only gave her a      9   top?
10   verbal, is that your testimony?                       10        A    I don't know. Except for the fact that
11        A    I gave her the verbal, yes.                 11   I did have the conversation with her on that day.
12        Q    But you had not actually written this       12        Q    Okay.
13   memorandum; is that correct?                          13        A    And I -- I mean -- what does this say --
14        A    That's correct.                             14   yeah, I had the conversation with her.
15        Q    Okay.                                       15        Q    Now, did anyone ask you to create this
16             When did you go out on sick leave before    16   document before you went out on sick leave?
17   you retired, what date did you go out on sick         17        A    I don't think so.
18   leave?                                                18             I think it was just -- like I said, it
19        A    You know, I really don't remember. It       19   was unfinished business that I knew I needed to
20   could have been the Friday before, the 26th of        20   take care of.
21   October.                                              21        Q    But how do you recall, how did it come
22        Q    So just before you went on sick leave --    22   to your attention that you had this unfinished
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 1   business pertaining to Ms. Harvey that you had to      1       Q     And you said this to her in the verbal?
 2   take care of before you went out on sick leave?        2       A     Yes, I did.
 3        A    I beg your pardon? I'm able to recall        3       Q     Okay.
 4   things.                                                4             And when you say "attack," what do you
 5        Q    Okay.                                        5   mean because it's really not clear? Your prior
 6        A    Yes.                                         6   e-mail said it was hostile, it was unprofessional
 7        Q    Were there any other managers in NLSD in     7   and so on. But here now you're saying it's an
 8   the Neighborhood Library Services Division that        8   attack, and you have that in quotes, what do you
 9   you had unfinished business to deal with before        9   mean by that?
10   you went out on sick leave and then retirement in     10        A    Well, as you pointed out in the prior
11   2018?                                                 11   e-mail to all managers that I was speaking to all
12        A    Not that I can recollect.                   12   managers, but in this memo I am -- it is addressed
13        Q    So Ms. Harvey was the only one; is that     13   to her and so my conversation with her was -- I
14   correct?                                              14   did use the word "attack" and so I put that in the
15        A    Yes.                                        15   memo.
16        Q    Now, here you describe in this memo a       16        Q    Okay, but your earlier testimony was
17   year later that this was an attack. Why did you       17   that she was loud, you know, she seemed hostile
18   describe this as an attack? Why did you describe      18   because of her tone and you said that her
19   it a year later as an attack?                         19   questions were legitimate. How are you now
20        A    Well, actually I said that on the day       20   describing it as an attack one year later?
21   of, and on the next day I used the word "attack,"     21        A    Because as I said -- I'm repeating
22   so that's why I used it here.                         22   myself because I don't think you understand -- is




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 1   that I said that to her on the day of the event        1   information, but it was to the wrong person, so it
 2   that it was an attack. I said that to her because      2   was not legitimate.
 3   of her tone and the way she asked the question,        3             And Ms. Daniel told her on that day, I
 4   yes. I said it to her. And that's why I used the       4   don't have anything to do with staff, I don't do
 5   word here.                                             5   scheduling, she told her that, because that was
 6        Q    Okay, so you're using the word here          6   inappropriate.
 7   because you had said it to her previously?             7        Q    Okay.
 8        A    Yes, I had, yes.                             8             So it's your testimony that the
 9        Q    And why do you put it in quotes here,        9   questions were not legitimate because it was
10   why do you have it in quotations here?                10   directed to the wrong person, is that your
11        A    Because I thought it was appropriate. I     11   testimony today?
12   thought to use the word "attack" was what I wanted    12        A    Yes.
13   to bring to her mind and it was an attack.            13        Q    Okay, thank you.
14        Q    And this is the way you felt, you know,     14             Now, were you involved in Ms. Harvey's
15   in terms of your interpretation of her tone and       15   performance evaluations for 2017?
16   her presentation that she was attacking Ms. Daniel    16        A    I reviewed the performance evaluations,
17   with her questions; is that correct?                  17   but I don't --
18        A    That's correct.                             18        Q    And -- go ahead.
19        Q    And she was attacking Ms. Daniel with       19        A    Yeah, I do review them. I don't give
20   legitimate questions about staffing; is that          20   them to the branch managers, they have a
21   correct?                                              21   supervisor, but I do review them.
22        A    Well, legitimate for if she needed          22        Q    And you reviewed hers in -- Ms. Harvey's
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 1   performance evaluation in 2017, did you?               1   not in the final. I don't remember what that
 2        A    Yes, yes.                                    2   cycle time is.
 3        Q    And to the best of your recollection         3        Q    Can you describe for me or explain to me
 4   today, did Ms. Harvey's performance rating, was it     4   what were the issues here in terms of the changes
 5   satisfactory or unsatisfactory, did it meet            5   that you were making?
 6   expectation or did it not meet expectation?            6             What were the issues here in terms of
 7        A    I'm sure at that time no manager             7   the changes that you were making into this
 8   received anything less than meets expectation, so      8   disciplinary record?
 9   I would assume that hers said meet expectations        9        A    You know, I don't remember. I don't
10   because I don't remember specifically.                10   even remember what change I needed to make. I was
11        Q    Okay.                                       11   trying to recall that after I read this, but I
12             And if she had not met expectation with     12   don't remember what it was.
13   respect to her performance evaluations in 2017,       13        Q    Okay.
14   you would have known that; is that right?             14             And if you look at the bottom of page 2,
15        A    Yes.                                        15   you see that there is a date or something written
16        Q    What about 2018, were you involved in       16   called "revised October 11, 2018" and that appears
17   her performance evaluation in 2018?                   17   to be circled, do you see that?
18        A    I don't know. When were they -- I don't     18        A    Yes.
19   know, I don't know.                                   19        Q    Can you confirm that this is the date
20        Q    Okay.                                       20   that you -- this date here is something that you
21        A    Maybe in the -- what do you call it --      21   typed here?
22   the six-month review but not in the final. Maybe      22        A    Yes, I believe, yeah.




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 1        Q    Okay.                                        1   rephrase it?
 2        A    I don't know -- yeah, okay, I don't          2        A    Well, I don't think -- that is not what
 3   know.                                                  3   I said.
 4        Q    Well, did you revise this memorandum at      4        Q    Understood.
 5   some point?                                            5             So, okay, would you like me to rephrase
 6        A    Yeah, I did. Yes, I did.                     6   the question, ma'am?
 7        Q    Okay.                                        7        A    Okay, please do.
 8             And how can you revise a memorandum that     8        Q    You testified earlier that you did not
 9   was not a revision of a memorandum that was not        9   create this memorandum in 2017; is that correct?
10   issued in 2017 and you have the date that it was      10        A    I did.
11   revised as 2018, but you testified today that you     11        Q    And you're testifying today that you
12   never even issued this, you actually prepared this    12   actually revised this memorandum in 2018,
13   in 2018?                                              13   October 2018; is that correct?
14             So why didn't you just say a new            14        A    Yes.
15   memorandum documenting an incident that occurred      15        Q    And my question is, if you did not
16   in 2017?                                              16   create this memorandum in 2017, why are you
17             MS. SIMPSON PARKER: Objection. That         17   indicating on the memorandum that it's a revision,
18   was not her testimony, her response.                  18   that you're revising something?
19             THE WITNESS: That's true.                   19        A    Because --
20   BY MR. ROSE:                                          20             MS. SIMPSON PARKER: Objection.
21        Q    Did you understand my question,             21             THE WITNESS: Go ahead.
22   Mrs. Anderson, or would you like me to repeat it,     22             MS. SIMPSON PARKER: Again, that was not
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 1   her response. And based on these documents that        1   the other female supervisors?
 2   you're showing her even supports what her              2        A    I'm going to say "no." No.
 3   testimony was.                                         3        Q    You never thought about it during this
 4             We can go -- you want to go off the          4   period of time at all?
 5   record, Mr. Rose?                                      5        A    No.
 6             MR. ROSE: Absolutely, Counsel, let's go      6        Q    Okay.
 7   off the record and break for ten minutes.              7        A    I've -- yeah, no.
 8             (Record suspended.)                          8        Q    Did you have any discussions with --
 9   BY MR. ROSE:                                           9   well, let me ask you this: Did you have any
10        Q    Mrs. Anderson, can you hear me?             10   discussions with Ms. Robin Moran while you were
11        A    Yes, I can.                                 11   dealing with an issuing or the revision of this
12        Q    So when we took a break a while ago we      12   memorandum in 2018?
13   were discussing, I believe, previously marked         13        A    You know, I've been thinking about that
14   exhibits that are being shared, I think it's          14   since you asked the question before, and I think I
15   0015 -- yeah, 0015 through to 0016.                   15   contacted Robin, I think I did, to ask if it was
16             I just have a couple more questions         16   too late to do it. As I said, it was unfinished
17   about this, though, Mrs. Anderson.                    17   business in the back of my mind that it needed to
18             While you were creating this document in    18   be done, because -- yeah, so I will say I may have
19   2018, did you have in the back of your mind as        19   called her, I probably called her rather than
20   well the employment discrimination, gender            20   e-mailed her.
21   discrimination case that the EEOC was prosecuting     21        Q    Okay.
22   against Enoch Pratt on behalf of Ms. Harvey and       22             And do you recall what her response to




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 1   you was when you questioned her about what you         1   have no objection to the document that begins with
 2   should do?                                             2   the date, the one that you currently have.
 3        A    That it was not too late because it was      3             MR. ROSE: Right.
 4   documenting that the conversation had taken place.     4             MS. SIMPSON PARKER: It's the in
 5        Q    Okay.                                        5   between, it's the in between document or writing
 6        A    And that's -- which is what this memo        6   that is not is what I'm objecting to.
 7   does.                                                  7             MR. ROSE: Okay. Thanks.
 8        Q    All right.                                   8             Madame Court Reporter, if I'm able, as
 9             MR. ROSE: I know that there is standing      9   counsel is agreeable or consents, if I'm able to
10   objections to this document, but, Madame Court        10   get separate documents of both Anderson 1, which
11   Reporter, I'm still going to go ahead and have at     11   should be Mrs. Anderson's November 2, 2017 e-mail
12   least page 1 and page 2 marked -- and I don't         12   to branch managers without the bottom portion of
13   know, Mrs. Parker -- I'm sorry -- Ms. Simpson         13   that as a separate --
14   Parker, maybe if you and I can, you know, work out    14             MS. SIMPSON PARKER: Can you scroll
15   where I can get a more cleaner copy or a more         15   while you're describing that and that way --
16   separated copy of these two documents, especially     16             MR. ROSE: Okay, no problem.
17   that the witness has identified it and agreed that    17             So, for instance, I think that would be
18   it's her documents and I've set a foundation for      18   this document -- no, no, not that one
19   and get rid of the other ones that, you know,         19   (indicating).
20   there is no foundations for.                          20             MS. SIMPSON PARKER: Yeah.
21             MS. SIMPSON PARKER: That's fine. I          21             MR. ROSE: This would be the one, the
22   have no objection to the first part, as I said, I     22   November 2nd one, at 11:57 a.m.
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 1   earlier that you did have or you reached out to         1   were there any meetings at all that you attended
 2   Ms. Moran to ask her whether or not the timing of       2   after that case was filed that specifically
 3   documenting the verbal, whether it was still okay,      3   addressed that case?
 4   and her response was that it was okay, is that          4        A    With Pratt library administration,
 5   correct, that was your testimony?                       5   that's what you asked, right?
 6        A    Yes.                                          6        Q    That is correct.
 7        Q    Did you reach out to anyone else, did         7        A    I just want to say "yes," but I'm not
 8   you have any discussions with Ms. Heidi Daniel,         8   really -- yes, I'll say "yes."
 9   for instance --                                         9        Q    And do you recall when that meeting took
10        A    No.                                          10   place?
11        Q    -- about -- okay.                            11        A    No, I don't.
12             All right. Now, were there any               12        Q    Let me ask you more specifically, were
13   meetings -- I'm going to go ahead and stop sharing     13   there any meetings that you attended in 2018 where
14   my screen at this point.                               14   the matter of the gender discrimination case
15        A    Okay.                                        15   involving Ms. Harvey was discussed?
16        Q    I think we should be back and my camera      16        A    In 2018? I don't remember. I really
17   should come back on.                                   17   don't remember.
18             All right, yes.                              18        Q    All right.
19             Now, were there any meetings that you        19             Now, do you have any knowledge as to the
20   attended, Mrs. Anderson, with senior leadership at     20   transfer that took place with respect to
21   Enoch Pratt Library that discussed the gender          21   Ms. Harvey in 2019?
22   discrimination case that was pending by the EEOC,      22        A    Yes.




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 1        Q    And what's your knowledge of that?            1   been there for so long?
 2        A    For some reason -- yeah, I stopped in at      2        A    Yeah, for so long and it seemed -- and I
 3   the Clifton branch one day to get -- to obtain          3   think she may have even said it was like a
 4   photocopies, and I saw her there, and we talked,        4   step-down to be taken from the Waverly branch,
 5   she explained to me what happened. And so that          5   which is a larger branch, to be at Clifton which
 6   was my first -- the first time I had learned about      6   is a small -- and now when I'm using these terms,
 7   that.                                                   7   I'm looking at the staffing, the community it
 8        Q    And do you recall specifically what she       8   serves and all of that, that she had been, yeah,
 9   told you that happened?                                 9   placed at Clifton branch.
10        A    That she was transferred. I was              10             And so to her it seemed like a step-down
11   surprised. I asked her why, and she explained to       11   or a -- for lack of a better word -- punishment.
12   me that she thought it was in response to -- what      12   I don't know what specific -- what was the reason
13   did she say -- I don't even remember what she          13   for her being moved other than what she said to me
14   said, but it was like it was punishment to be          14   because I hadn't talked to anybody else about it.
15   transferred there and then that's the -- she may       15        Q    And did you also perceive that transfer
16   not have used those words, but that's the sense        16   of her to be a step-down, was that your perception
17   that I gave. She may have explained it, I don't        17   based on knowing her and working with her over the
18   remember the conversation, but I was surprised, I      18   years?
19   was surprised because, you know, she had not --        19        A    I'll say this, it was a surprise that
20   she had been at Waverly branch for so long and it      20   she was there, but having been a chief that --
21   was a surprise.                                        21   decisions aren't made usually for that purpose and
22        Q    And it was a surprise because she had        22   they are not made without some other information
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 1   BY MR. ROSE:                                            1             Go ahead. Sorry.
 2        Q    Mrs. Anderson, just a few more questions      2        A    Fair-minded? I wouldn't have used those
 3   before I wrap up here.                                  3   terms to describe her. I think she has a zeal for
 4             I think you testified earlier that you        4   her job. I know she is committed to public
 5   had a good working relationship with Ms. Ann Marie      5   librarianship. I think she desires and demands
 6   Harvey; is that correct?                                6   excellence because I think she tries to produce
 7        A    Yes.                                          7   that, yeah, those are the ways I would describe
 8        Q    And, in fact, you and Ms. Ann Marie           8   her.
 9   Harvey, you know, attended work conferences             9        Q    Yes. And a person like that would
10   together and may have even stayed in the same room     10   certainly demand that of your staff and your
11   and stuff like that as well?                           11   subordinates as well, wouldn't that be correct?
12        A    We attended conferences together, yes.       12        A    Yes.
13        Q    Okay.                                        13        Q    And you would not describe her as a
14             And both of you talk about work even off     14   bully, would you, from working with her over the
15   work hours; is that correct?                           15   years, would you describe her as a bully?
16        A    Oh, yes.                                     16        A    I'll say she hasn't bullied me.
17        Q    And you know Ms. Harvey to be a              17        Q    I understand.
18   conscientious, fair-minded person, is that             18             My question is, would you describe her
19   correct, from working with her?                        19   in your interactions with her in terms of your job
20        A    Well, for the most -- I know Ann Marie,      20   interactions, are there any circumstances under
21   I don't know -- I know Ann Marie --                    21   which you would describe her as a bully based on
22        Q    Okay.                                        22   those interactions?




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 1        A    I know that she has, yes, she has             1        A    That is what she said, but I don't think
 2   bullied people and, yes, she has, but she's not         2   that other people at that time said that same
 3   had that -- she's not bullied me, but, yes, I know      3   thing. I wasn't there, but the officer did not
 4   some incidents that has occurred in her branch          4   describe it that way, but that's how Ann Marie
 5   where I think she was a little over the top.            5   perceived it, so that's why she said she reacted
 6        Q    Can you describe one of those incidents?      6   the way she did, but that's not what I know
 7        A    Yes, when she -- again, I'll use the          7   Officer Little-Staten said.
 8   word, she had a fight with one of the public --         8        Q    Are there any other incidents that you
 9   the customers in the branch when he was using the       9   recall that you have knowledge of where you would
10   telephone.                                             10   describe Ms. Harvey as a bully?
11        Q    Okay.                                        11        A    There was one other incident with a
12             And isn't it correct that that customer      12   customer and I think -- I can't remember the
13   apparently was under the influence and also            13   details.
14   attacked Ms. Harvey; isn't that correct?               14        Q    Okay.
15        A    No, that is not correct.                     15        A    I can't remember the details, yes.
16        Q    Did you read the reports that were           16             And then a staff member, she had an
17   prepared relating to that incident?                    17   ongoing, but eventually he retired. She had an
18        A    Yes, I did.                                  18   ongoing issue with a former staff member in the
19        Q    And is it your testimony today that that     19   building, Keith Wilson, I think, yeah, I think
20   report did not indicate that the customer was          20   Keith Wilson, yeah.
21   hostile or himself attacked or moved towards           21        Q    What issue was she having with that
22   Ms. Harvey in a physical manner?                       22   staff member?
